Case 2:O4-cr-20314-SHI\/| Document 91 Filed 08/11/05 Page 1 of 2 PagelD 126

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UN|TED STATES OF AMERICA \M] G§ =5_

 

Plaintiff

VS.
CR. NO. 04-20314-D

NANCY W|LL|S,
VlCKlE HERRON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER[OD OF EXCLUDABLE DELAY
AND SETT|NG

 

Counse| for the defendants came before the court on August 2, 2005, and
requested a continuance of the August 8, 2005 trial date in order to allow for additional
preparation in the case.

The Court granted the request and reset a firm trial date of Monday, September
19 2005 at9:00 a.m. A Daubert hearing was set forTuesday, August 30, 2005, at3:30

 

p.m., in Courtroom 3, 9th F|oor of the Federa| Bui|ding, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a peedy tria|.

|T lS SO ORDERED this 2 day of August, 2005.

  

U |TED STATES D|STRICT JUDGE

This docurnant entered on the docket

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with sole et ar. ti/ur 32(b) FaorP on ____/__________Q 139

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
case 2:04-CR-20314 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

